     Case 3:17-cv-02074-JAH-WVG Document 14 Filed 02/07/18 PageID.90 Page 1 of 2



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                         UNITED STATES DISTRICT COURT
10                     SOUTHERN DISTRICT OF CALIFORNIA
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                                             Case No.: 3:17-cv-02074-JAH-WVG
12     JONATHAN SHAWN BUSH,
       individually and on behalf of all     ORDER GRANTING JOINT
13     others similarly situated,
                                             MOTION AND STIPULATION FOR
14                  Plaintiff,               DISMISSAL OF ACTION

15     v.

16     INBOUNDPROSPECT, INC.
       d/b/a SENIOR MOBILITY
17     CARE,

18                  Defendant.

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      Case No.: 3:17-cv-02074-JAH-WVG                 Bush v. InboundProspect, Inc.
       ORDER GRANTING JOINT MOTION AND STIPULATION FOR DISMISSAL OF ACTION
     Case 3:17-cv-02074-JAH-WVG Document 14 Filed 02/07/18 PageID.91 Page 2 of 2



 1          IT IS HEREBY ORDERED, pursuant to the Joint Motion and Stipulation of
 2    Plaintiff Jonathan Shawn Bush and Defendant InboundProspect, Inc. d/b/a Senior
 3    Mobility Care (collectively “the Parties”), that:
 4          1. The above-captioned action is hereby dismissed in its entirety with
 5              prejudice as to Plaintiff’s individual claims and without prejudice as to
 6              the claims of the putative class members, pursuant to Fed. R. Civ. P.
 7              41(a)(1)(A)(ii); and
 8          2. The Parties are to bear their own fees and costs.
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            IT IS SO ORDERED.
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11    Dated: February 6, 2018
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13                                                  HON. JOHN A. HOUSTON
                                                    UNITED STATES DISTRICT JUDGE
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      Case No.: 3:17-cv-02074-JAH-WVG 1 of 1          Bush v. InboundProspect, Inc.
       ORDER GRANTING JOINT MOTION AND STIPULATION FOR DISMISSAL OF ACTION
